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                      IN THE UNITED STATES DISTRICT COURT

                   FOR THE EASTERN DISTRICT OF PENNS}'I-VANIA

UNITED STATES OF AMERICA                             CRIMINAL NO.

                                                     DATE FILED:

                                                     VIOLATIONS:
KEELYMAUDE                                           18 U.S.C. $ 1341 (mail    fraud - I count)
                                                     18 U.S.C. $ 641   (theft of public money -
                                                     I count)
                                                     Notice of forfeiture

                                     INDICTMENT
                                         COUNT ONE

THE GRAND JURY CHARGES THAT:

              At all times material to this indictment:

                                      INTRODUCTION

              1.     On March 13,2020, the President declared the ongoing COVID-19

pandemic to be an emergency under Section 501(b) ofthe Robert T. Stafford Disaster Relief and

Emergency Assistance Act.

              2.     On March 27 , 2020, the Coronavirus Aid, Reliet and Economic Security

Act (CARES Act) was signed into law. The CARES Act                 created the PUA @andemic

Unemployment Assistance) program, which provided unemployment benefits to individuals not

eligible for regular unemployment compensation or extended unemployment benefits.

              3.     The PUA program was administered by the various states, including the

commonwealth of Pennsylvania" but its benefits were finded by the federal govemment. In

Pennsylvania, the Pennsylvania Department of Labor and Industry (PA DLD administered the


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PUA program, on behalf of the United States Department of Labor, which was responsible for

overseeing the PUA program.

                4.         PA DLI required that a PUA claim be made online via the PUA website,

https://pua.benefits.uc.pa.gov. The applicant was required           to   enter personal identification

information @lI), including name, date of birth, social security number, email address, telephone

number, and a physical address. An applicant was also required to answer a series of questions that

enabled the PA    DLI to determine the applicant's eligibility and payment amount. Once awarded

PUA benefits, the applicant was required to submit weekly certifications showing continuing

eligibility. PA DLI required that the application for PUA benefits as well as the weekly

certifications be made online.

                 5.       While each state administered its own PUA program, the application used

by each state was a standard online application form. The form consisted of27 different sections

including   a range   ofquestions within each section. Some ofthe questions asked for the applicant's

PII and biographical information, while other questions dealt with the applicant's eligibility for

the program and work history. An applicant was required to provide their curent employment

status and answer     ifthey were able to accept ajob ifoffered. Ifthe applicant was unable to accept

ajob, the applicant was required to provide     a reason   for not being able to accept ajob.

                 6.       The applicant was also required to disclose if they were unemployed as a

result ofa pandemic or major disaster. If the applicant's employment had not been affected as a

result of a pandemic or major disaster, the applicant was not eligible for PUA benefits.          If   the


applicant,s employment had been affected by a pandemic or major disaster, the application was




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required to note in which state the applicant was affected by the pandemic or major disaster and

the nature ofthe pandemic or major disaster.

                 7.        In the 'self-certification'   section   of the application, the applicant   was

required to answer questions regarding the nature and impact ofa pandemic or major disaster on

the applicant's employment status. First, the applicant was required to disclose the pandemic or

major disaster which affected the applicant's emplolment. An applicant was only eligible to

receive weekly PUA benefits if the applicant was unemployed for reasons related to the COVID-

19 pandemic. Second, the applicant was required to disclose the date         ofthe applicant's last day of

work. Finally, if the applicant quit their job due to COVID-I9, the applicant was required to supply

a reason   for quitting.

                  8.       As to all of these preceding questions, the applicant was required to

"acknowledge that      I   understanfl ft21 6aking the certification is under penalty of perjury and

intentional misrepresentation in self-certifuing that I may fall in one or more ofthese categories is

fraud."

                  9.       The applicant was also required to complete another certification, under

penalty ofperjury, that if offered ajob, the applicant would be able to accept it. An applicant was

requited to read and understand the PUA Compensation Handbook, which stated that any eamings

must be reported for each week a person works. The applicant was also required to certi$ once

again as to the application that     "all information is true and complete" and that if the applicant

provided false information the applicant could be subject to criminal prosecution.

                  10.      IfPA DLI or another   state's administrative agency approved an application




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for PUA benefits, the applicant was then eligible to receive benefits in the form of                 checks,

electronic fund transfers, or debit cards, and the checks and debit cmds were mailed via the United

States Postal Service to the physical address that appeared on the application. When a state agency

approved an applicant's eligibility, the agency established the applicant's period of benefits,

amount of weekly benefit, and maximum total benefit amount. However, even after this occurred,

the applicant was not able to receive the benefits unless the applicant performed the appropriate

weekly certi-Ecations.

               II   .     The recipient of PUA benefits received a unique applicant number that

corresponded to the applicant's initial application and weekly certifications. Paymenls for PUA

were based on a seven-day period, from Sunday through Saturday. Thus, the benefits recipient was

required to certify every seven days that he or she: a) was ready, willing and able to work each

day; b) was seeking     firll time employment; c) did not refirse   any   job offers or referrals; and d) had

reported any employment during the week and the gross pay or other payments received' The

weekly certification was required to be completed in a timely manner. A delay in the weekly

certification could result in a delay or denial of further payments.

                12.       Defendant KEELY MAUDE was employed as a civilian dispatcher by the

Philadelphia Polic€ Department C'PPD").




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                                 TIIE SCIIEME TO DEFRAUD

               13.     From on or about Ju[y 17,2020 to on or about January 29,2021,        n   the

Eastern District of Pennsylvani4 and elsewhere, defendant

                                        KEELY MAUDE

devised and intended to devise a scheme to defraud state and federal agencies, and to obtain

money and property, specifically PUA benefits, by means of false and fraudulent pretenses,

representations, and promises.

                                    MANI{ERANDMEANS

               It was part of the scheme that:

               14.     OnJuly 17,2020, defendant KEELYMAUDE submiued aPUA application

in the state of Pennsylvania. On the application, defendant MAUDE falsely stated that she was not

working and had lost her job due to the COVID-I9 pandemic. Defendant MATIDE also stated that

her last day of work was on March 8, 2020. These statements were false as defendant MA[IDE

did not lose her job due to the COVID-I9 pandemic and continued to be employed by the PPD.

               15.     After she was approved for PUA benefits, defendant MAUDE submitted

weekly certifications to the PUA website from July 19, 2020 to October 11,2020,      ceffiing     that

she was unemployed due to the COVID-l9 pandemic, did not work or eam wages from the

workweek ending July 18, 2020 through the workweek ending October 10,2020, and that she was

ready and able to accept ajob ifoffered. As part ofthese weekly certifications, defendant   MAUDE

also certi{ied that she was not working and not receiving any income. Defendant MAUDE's

weekly certifications for this period were false as defendant MAIIDE was employed by the PPD

and continued to receive income from her employment.



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               16.      As a result of her false application and weekly certifications, defendant

MAUDE obtained $8,057 in PUA benefits.

                                          THEMAILING

               17   .   The benefits tied    to   defendant MAUDE's application and weekly

certifications were loaded onto a US Bank debit card. This card was mailed to the address on the

application, on Morrell Avenue, Philadelphia Pennsylvania.

               18.      On or about Jaly 24,2020, tn the Eastem District of Pennsylvani4 and

elsewhere, having devised and intending to devise this scheme described above, the defendant

                                         KEELYMAUDE,

for the purpose of executing the scheme, knowingly caused to be delivered by United States mail,

according to the directions thereon, a US Bank debit card mailed from Shoreview, Minnesota or

lndianapolis, Indiana, addressed to Keely Maude at Monell Avenue, Philadelphia Pennsylvania.

               In violation of Title 18, United States Code, Section 1341.




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                                         COUNTTWO

TIIE GRAND JT'RY FURTIMR CHARGES THAT:

              At all times relevant to this indictment:

               l.     The allegations in paragraphs   I through   12 and 14   through 17 of Count

One are incorporated herein.

              2.      From on or about J:l/ry 17,2020,to on or about January 29,2021 inthe

Eastem District of Pennsylvania and elsewhere, defendant

                                       KEELYMAUDE

did knowingly steal and convert to her use or the use of another money or a thing of value ofthe

united states, specifically, Pandemic unemployment Assistance funds under the care of the

United States Departnent oflabor, in a value exceeding $1,000.

               ln violation of Title 18, United States Code, Section 641.




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                                            NOTICE OF FORFEITURE

TIIE GRAND JIJRY T'URTIIER CHARGES TIIAT:

                      I   .    As a result of the violations of Title I 8, United Stat€s Code, Sections 64 1

and   l34l   as set   forth in this indictment, defendant

                                                  KEELYMAUDE

shall forfeit to the United States of Anerica any property that constitutes, or is derived from,

proceeds traceable to the commission of such offenses, including, but not limited to, the sum                       of

$8,057.

                  2.          If   any ofthe property subject to forfeiture, as a result of any act or omission

ofthe defendant:

                              (a)       cannot be located upon the exercise of due diligence;


                              O)        has been transferred or sold to, or deposited   witlr,   a   third party;

                              (c)       has been placed beyond the     jurisdiction of the Court;

                              (d)       has been substantially diminished in value; or

                              (e)       has been commingled       with other Eoperty which camot be divided

                                        without difficulty;

it is the intent ofthe United         States, pursuant to Title 28, United States Code, Section 2461(c)

incorporating Title 21, United States Code, Section 853(p), to seek forfeiture of any other

Foperty ofthe defendant up to the value of the property subject to forfeiture.




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              All   pursuant to Title 28, United States Code, Section 2461(c) and   Title   18, United


States Code, Section 981(a)(l)(C).




                                                     A TRUE    BILL:




                                                     GRAND




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JENNIFER ARBITTIER WILLIAMS
ACTING UNITED STATES ATTORNEY




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        T,INITED STATES DISTRICT COI.]IIT

                                Eastern District of Pennsylvania


                                          Criminal Division


                      THE UNITED STATES OF AMERICA


                                              Kcclv Maudc

                                              INDICTMENT

                                                  Counts
l8 U.S.C. $ 1341, (mail fraud) I Count and l8 U.S.C.                 $ 641 (theft of public money)   I Count




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                   Filcd in open courl this                                        day.
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